Case 1:22-cv-01092-GBW          Document 105         Filed 06/12/25      Page 1 of 2 PageID #: 1862




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AMERICAN GENERAL LIFE
 INSURANCE COMPANY,

                Plaintiff,
        v.                                                        C.A. No. 22-1092-GBW

 WILMINGTON TRUST,
 NATIONAL ASSOCIATION,

                Defendant.

   STIPULATION AND [PROPOSED] ORDER TO EXTEND MEDIATION DEADLINE

        WHEREAS, on April 15, 2025, the Court granted Plaintiff American General Life

 Insurance Company (“American General”) and Defendant Wilmington Trust National

 Association’ (“Wilmington”) (collectively, “the Parties”) Joint Stipulation to Extend Remaining

 Deadlines, D.E. 73 (Stipulation) and 81 (Order);

        WHEREAS, the Court’s Order set a mediation deadline of June 20, 2025, among other

 deadlines;

        WHEREAS, thereafter the Parties jointly agreed on a mediator, Robert Katzenstein, and

 mutually scheduled mediation to take place on June 17, 2025;

        WHEREAS, subsequent to the Parties’ agreement, a conflict arose that precluded the

 Parties from mediating on the selected date; and

        WHEREAS, the Parties conferred with the mediator and selected a new mutually agreeable

 mediation date of June 26, 2025.

        IT IS HEREBY STIPULATED AND AGREED by the Parties subject to the approval of

 the Court, that:

        1.      The mediation deadline is extended to June 26, 2025, with a corresponding

 adjustment of the date for the Parties to submit a status report, if necessary.
Case 1:22-cv-01092-GBW        Document 105         Filed 06/12/25   Page 2 of 2 PageID #: 1863




        2.      All remaining deadlines remain unchanged.


  Dated: June 12, 2025

  BELLEW LLC                                        K&L GATES LLP

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                                                    Counsel for Defendant


 SO ORDERED this ____ day of ___________________, 2025.

                                            ________________________________________
                                            UNITED STATES DISTRICT JUDGE




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